AtTorNeY(S) : Mohammed Gangat, Esq.
Inpex #} 1:22-cy-03237-EK-JRC
PurCHASED/FILED : June 1, 2022

Srate or : New York

Courr: U.S. District

Robert J. Jean

Plaintiff(s)
against
4 Square Management, LLC, et al
Defendant(s)
STATE OF NEW YORK ) DESCRIPTION OF PERSON SERVED: Approx. Age: 45 Yrs.
COUNTY OF ALBANY )SS —_
CITY OF ALBANY ) Weight: 160 Lbs. Height: 5'10" Sex: Female Color of skin: White
Haircoler: Blonde Other:
Robert Guyette , being duly sworn, deposes and says: deponent is over
the age of eighteen (18) years; is not a party to this action, and resides in the State of NY, and thai on
June 16, 2022 ,at 1:00PM _ , at the office of the Secretary of State of the State of NY,

located at 99 Washington Ave, 6th Fl, Albany, New York 12231 deponent served:
Summons in A Civil Action & FLSA Collective Action and Rule 23 Class Action Complaint

on
5 Square Management, LLC

the Defendant in this action, by delivering to and leaving with Amy Lesch
AUTHORIZED AGENT in the Office of the Secretary of State, of the State of New York, personally at the
Office of the Secretary of State of the State of New York, two (2) true copies thereof and that at the time of

making such service, deponent paid said Secretary of State a fee of $40 dollars; That said service
was made pursuant ito Section LIMITED LIABILITY COMPANY LAW §303.

Deponent further says that deponent knew the person so served as aforesaid to be the agent in the Office

of the Secretary of State of the State of New York, duly authorized to accept such service on behalf of said

defendant. [w) AE Ie]

Sworn to before me on this 7

fe
16th day of June 2022 Si Y
ee B_ GG} — Robert Guyette
FAITH GO.

NOTARY PUBLIC, State of New ¥. Involee-Work Order # 2220955

No, 01C06158874, Albany County Attorney File # 2216604
Commission Expires Jan 8, 2023

